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                  UNITED STATES DISTRICT COURT
                THE WESTERN DISTRICT OF ARKANSAS
                       EL DORADO DIVISION


Eddie B. Robinson, as Administrator for the Estate of
Willie Robinson, Sr., deceased                                        PLAINTIFF

v.                      CASE NO.: 1:14-cv-01051-SOH

EOR-ARK, LLC; VAJ LLC; Senior Living Communities of
Arkansas, LLC; SLC Operations Holdings, LLC; SLC Operations,
LLC; Pine Hills Holdings, LLC; Pine Hills Health and
Rehabilitation, LLC, dlb/a Pine Hills Health and Rehabilitation;
SLC Operations Master Tenant, LLC; SLC Properties, LLC; SLC
Property Holdings, LLC; SLC Property Investors, LLC; Arkansas
Nursing Home Acquisition, LLC; CSCV Holdings, LLC; Capital
Funding Group, Inc.; Capital Funding, LLC; Capital Finance, LLC;
Capital SeniorCare Ventures, LLC; ADDIT, LLC; SLC
Professionals of Arkansas, LLC, n/k/a SLC Professionals, LLC;
Senior Vantage Point, LLC; 900 Magnolia Road SW, LLC; Quality
Review, LLC; Arkansas SNF Operations Acquisition, LLC; SLC
Professionals Holdings, LLC; SLC Administrative Services of
Arkansas, LLC; and John Dwyer                                    DEFENDANTS

                             NOTICE OF APPEAL

      Notice is hereby given that Plaintiff, Eddie B. Robinson, as Administrator

for the Estate of the Estate of Willie Robinson, Sr., deceased, in the above named

case, pursuant to 28 U.S.C. § 1291 and 9 U.S.C. § 16(a)(3), hereby appeals to the

United States Court of Appeals for the Eighth Circuit from the September 28, 2015

Order dismissing Plaintiff’s Complaint, a copy of which is attached hereto.
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                               Respectfully submitted,



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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 22, 2015, I electronically filed the foregoing
with the Clerk of Court using the CM/ECF System, which shall send notification
of such filing to all counsel of record.

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